  Case 4:17-cv-00564-JFH-JFJ Document 213-6 Filed in USDC ND/OK on 07/28/20 Page 1 of 18



Justin Lollman

From:                                          Chris S. Thrutchley
Sent:                                          Thursday, March 12, 2020 12:26 AM
To:                                            Mark Smith; Daniel Smolen
Cc:                                            Bob Blakemore; Kendra Rash; Denelda Richardson; Loren Delluomo; Nicholas Foster;
                                               Randy Long; Sheryl Menees; Simmons All
Subject:                                       RE: Copeland v. CAAIR | Meet and Confer re TAC/Dismissal
Attachments:                                   P's Motion to Amend Complaint and Dismiss P' without prejudice - Def's Revised Draft
                                               3-11-20 (2102351x9DA4C).docx; Joint Motion for Class Cert Deadlines - Defendants'
                                               Revised Draft 3-11-20. (2102350x9DA4C).docx


Mark, Dan, and Nick:

Attached are our suggested edits to the Joint Motion for Class Cert Deadlines and the Plaintiffs’ Motion for Leave to
Amend/Dismiss in track changes mode. If you have any further edits, please circulate for our review and we’ll do our
best to expedite the turnaround or a call to discuss.

I believe the attached tracks the understandings reached today.

          Chris S. Thrutchley, SHRM-SCP | Shareholder | GableGotwals
          1100 ONEOK Plaza | 100 West 5th Street | Tulsa, OK 74103-4217 USA
          (D) 918.595.4810 | (f) 918.595.4990 | www.gablelaw.com | Bio


_________________________________________________________________________




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or confidential information. If you have received this in error, please notify me immediately
and permanently delete the message and any prints or other copies. Thank you.




From: Mark Smith <msmith@carusolawfirm.com>
Sent: Wednesday, March 11, 2020 1:23 PM
To: Chris S. Thrutchley <cthrutchley@gablelaw.com>; Daniel Smolen <danielsmolen@ssrok.com>
Cc: Bob Blakemore <bobblakemore@ssrok.com>; Kendra Rash <kendrarash@ssrok.com>; Denelda Richardson
<drichardson@rhodesokla.com>; Loren Delluomo <LDelluomo@rhodesokla.com>; Nicholas Foster
<NFoster@rhodesokla.com>; Randy Long <rlong@rhodesokla.com>; Sheryl Menees <SMenees@rhodesokla.com>
Subject: RE: Copeland v. CAAIR | Meet and Confer re TAC/Dismissal

Chris,

Attached is a letter in response to your letter of March 10, 2020.

Mark A. Smith
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The Colonial Building
1325 East 15th Street, Suite 201
Tulsa, Oklahoma 74120
                                                                                   1
                                                                                                            Exhibit 6 at 1
  Case 4:17-cv-00564-JFH-JFJ Document 213-6 Filed in USDC ND/OK on 07/28/20 Page 2 of 18


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From: Mark Smith
Sent: Tuesday, March 10, 2020 12:41 PM
To: Chris S. Thrutchley; Daniel Smolen
Cc: Simmons All; Bob Blakemore; Kendra Rash; Denelda Richardson; Loren Delluomo; Nicholas Foster; Randy Long;
Sheryl Menees
Subject: RE: Copeland v. CAAIR | Meet and Confer re TAC/Dismissal

Chris,

In response to your letter emailed today, I inadvertently failed to attach Plaintiffs’ Motion to Amend the Complaint.
Attached is the correct motion to amend as well as the correct joint motion to enter a class certification scheduling
order.

We would like to set up a final meet confer call for tomorrow at 4pm CST. I will respond to your letter prior to the call to
narrow the last remaining issues.

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From: Mark Smith
Sent: Friday, March 6, 2020 4:30 PM
To: Chris S. Thrutchley; Daniel Smolen
Cc: Simmons All; Bob Blakemore; Kendra Rash; Denelda Richardson; Loren Delluomo; Nicholas Foster; Randy Long;
Sheryl Menees
Subject: RE: Copeland v. CAAIR | Meet and Confer re TAC/Dismissal

Chris,

Attached are the Motion to Amend, TAC, and Scheduling Order. I have our date to file a motion with the Court as March
12 (30 days from Feb. 11).
    1. We will have a final list of those Plaintiffs being dismissed to you shortly. The TAC is the final list of Plaintiffs
        remaining in the lawsuit.
    2. The final class reps are identified in the attached TAC. Barring unforeseen circumstances (death, withdrawal), we
        will not be changing proposed reps.
    3. We are seeking to expand the Unjust Enrichment claim to include claims under OK and AR law. As we discussed
        on the phone, Judge Kern approved this cause in denying your Motion to Dismiss and we see no prejudice to
        Defendants in clarifying OK and AR law may apply to some plaintiffs and Class member’s claims instead of MO
        law. Indeed, you were unable to articulate any prejudice in our phone call and fail to do so again in your email
        beyond the timing. I understand this may ultimately be the only point of disagreement requiring resolution from

                                                             2
                                                                                                   Exhibit 6 at 2
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       the Court and I have placed language to that affect in our motion to amend, noting Defendants need their
       opportunity to be heard on this issue. Let me know what additional language you would appreciate in our
       motion to amend on this issue.
    4. The damages we seek to recover for the class are only economic damages but we are seeking those damages
       under every claim save for the FLSA, not just the TVPRA.
    5. The proposed schedule does not provide for further amendments, after the TAC, without leave of the Court.
    6. We propose a hard deadline in the Scheduling Order but there needs to be an understanding that many of the
       plaintiffs face difficulties in obtaining the documents, including access to a computer or smart phones to obtain
       any facebook archive. Also, some are facing frequent DOC lockdowns. We propose to confer after you have
       received the Proposed Class Rep.’s documents to determine if your requests are ultimately not capturing any
       relevant evidence.

The list of proposed plaintiffs to be dismissed will come from Sterling.

In general, the schedule reflects the need for further discovery, especially depositions and expert discovery. I also did
not want to put expert discovery and final depositions occurring over the Christmas holidays as scheduling is both
difficult and unfair to the witnesses and attorneys alike during those weeks.

Let’s set up a call for late Monday or anytime Tuesday to have a final conferral.

Have a nice weekend,

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www.carusolawfirm.com

From: Chris S. Thrutchley
Sent: Thursday, March 5, 2020 1:08 PM
To: Daniel Smolen; Mark Smith
Cc: Simmons All; Bob Blakemore; Kendra Rash; Denelda Richardson; Loren Delluomo; Nicholas Foster; Randy Long;
Sheryl Menees
Subject: Copeland v. CAAIR | Meet and Confer re TAC/Dismissal

Dan & Mark:

Thanks again for taking time during our meet-and-confer yesterday to explain and clarify your intentions regarding the
latest draft of the proposed third amended complaint (TAC). I write to confirm the substance of your clarifications, our
discussion, and the agreed next steps.

    1. Plaintiffs’ TAC is in Near Final Form. The proposed TAC is in near final form and any additional changes will be
       limited to correcting typos and finalizing the list of named Plaintiffs who will remain as parties to the case.

    2. Class Representatives are Final: The Plaintiffs identified in the TAC as Class Representatives will be final and not
       subject to change except in the event of death—in which case you would move to substitute the Class Rep’s
       estate. You emphasized that Plaintiffs would not move to add to or substitute any of the six identified Class

                                                              3
                                                                                                   Exhibit 6 at 3
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        Reps under any other circumstances, including, for example, if one of the Class Reps chose to withdraw or was
        for some reason later determined to be inadequate.

    3. Plaintiffs’ Proposed Amendment to Expand Count 10: The TAC seeks to expand Count 10 beyond just the
       existing Missouri unjust enrichment claim by adding unjust enrichment claims under Arkansas and Oklahoma
       law. In response, we noted that:
            a. Adding new claims was not part of what the Court agreed to when it granted Plaintiffs’ request for 30
                days to decide what plaintiffs intend to do about the FLSA claim and dismissal of plaintiffs,
            b. There was no excuse for Plaintiffs waiting over two years to seek to add new claims, and
            c. Defendants would oppose adding new claims.
       In reply, you agreed to reevaluate whether you will seek to add new unjust enrichment claims and will confirm
       when you provide the final draft of the TAC for our review.

    4. The Putative Class is Only Seeking Economic Loss on their TVPRA Claims: You confirmed that the proposed
       amendments to Plaintiffs’ TVPRA claims are meant to make clear that the putative class is only seeking
       economic losses (e.g., lost wages, interest, attorneys fees, statutory penalties, etc.) for their TVPRA claims and is
       expressly not seeking damages for noneconomic losses—including pain and suffer, emotional distress, and
       personal injury.

    5. No Further Amendments to the Pleadings: During yesterday’s call and during a previous call about the TAC, you
       confirmed that Plaintiffs agree there will be no further amendments to the pleadings to add claims or parties
       absent some truly exceptional and unforeseen event, like the death of a Plaintiff. You invited us to propose
       some draft language that would memorialize an agreement along these lines. We will do so and provide it with
       our response to Plaintiffs’ final draft of the proposed TAC.

    6. Deadline for Completing Outstanding Discovery: We asked if the remaining Plaintiffs (Class Reps and other
       named Plaintiffs in the TAC) will agree to a final deadline to complete all outstanding discovery or face dismissal
       with prejudice. While you agreed to complete outstanding discovery for the six Class Reps before filing Plaintiffs’
       motion to amend next week, you declined to agree to any deadlines for the other Plaintiffs named in the TAC
       because some were incarcerated and a DOC lockdown prevented you from visiting them and completing their
       discovery. In response, we proposed setting a deadline with an exception for Plaintiffs who have been
       inaccessible due to lockdowns. You declined, adding that the outstanding discovery of the remaining named
       Plaintiffs is irrelevant to class certification. In response, we reiterated that the outstanding discovery is relevant
       for class purposes, that Plaintiffs had agreed to the discovery with a May 2019 completion deadline, and that
       the Court has twice compelled Plaintiffs to complete the discovery. We were unable to reach an understanding,
       but you offered to make a proposal when you send the final version of the TAC and a proposed class cert
       schedule.

    7. Next Steps: By COB Friday (if not sooner) Plaintiffs will provide Defendants with the following:
          a. The final draft of Plaintiffs’ proposed TAC,
          b. A list of the Plaintiffs you propose to dismiss without prejudice,
          c. Plaintiffs’ motion to amend with the proposed final TAC, and
          d. A proposed class certification schedule addressing discovery matters, including the remaining named
               Plaintiffs’ outstanding discovery obligations.

Once we get your proposed motion, the final proposed TAC, and your proposal concerning discovery and the schedule,
we’ll provide a formal response, including any conditions we would require in order not to oppose your motion.

If we’ve misunderstood anything or left anything out that you believe is important, please let us know.




                                                              4
                                                                                                   Exhibit 6 at 4
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                                                                                   5
                                                                                                Exhibit 6 at 5
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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

 (1) ARTHUR COPELAND,                                  )
 (2) DAVID BRANDON SPURGIN,                            )
 (3) BRAD MCGAHEY,                                     )
 (4) BRANDON MILLS, and                                )
 (5) NATHAN TAYLOR                                     )
                                                       )
      Individually and on behalf                       )
      of all others Similarly situated. et. al.,       )
                                                       )
                          Plaintiffs,                  )
                                                       ) CASE NO. 17-CV-00564-TCK-JFJ
 v.                                                    ) [PROPOSED] CLASS ACTION
                                                       ) ATTORNEY LIEN CLAIMED
 (1) C.A.A.I.R., Inc., a domestic not for profit       )   JURY TRIAL DEMANDED
 corporation,                                          )
 (2) SIMMONS FOODS, INC., a foreign for                )
 profit business corporation,                          )
 (3) SIMMONS PET FOOD, INC.,                           )
 (4) JANET WILKERSON,                                  )
 (5) DON WILKERSON,                                    )
 (6) LOUISE DUNHAM,                                    )
 (7) JIM LOVELL,                                       )
                                                       )
                           Defendants.                 )

                PLAINTIFFS’ MOTION TO AMEND THE COMPLAINT AND
                 DISMISS CERTAIN PLAINTIFFS WITHOUT PREJUDICE

         On February 10, 2020, Judge Jayne held a Scheduling Conference and entered an Order

 directing Plaintiffs to file a motion either 1) for FLSA conditional certification or 2) requesting

 relief as to dismissal of certain Plaintiffs. (Dkt. 154). Judge Jayne also recoginized that Plaintiffs’

 are not entitled to a dismissal without prejudice nor to amend the Complaint as of right. (Dkt. 154).

 Plaintiffs’ counsel held multiple meet and confer discussions with counsel for Defendants con-

 cerning Plaintiffs’ proposal herein, which proposal is intended to narrow the issues in this case for




                                                                                                           Exhibit 6 at 6
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 the parties and the Court, establish a Rule 23 certification schedule, and provide for resolving the

 outstanding discovery issues between the parties.

        Plaitniffs’ move the Court for permission to file a Third Amended Complaint. See Exhibit

 1, attached hereto; Ex. 2- Redlines. The proposed Third Amended Complaint incorporates Judge

 Kern’s ruling on Defendnats’ Motion to Dismiss (Dkt. 115) and clarifies for the Court and the

 parties Plaintiffs’ FLSA and class claims. Plaintiffs Third Amended Complaint clarifies which

 Plaintiffs are proceeding as named Plaintiffs herein and removing those Plaintiffs whom were only

 intended as FLSA opt-ins and those which counsel for Plaintiffs have been unable to secure ade-

 quate discovery responses. In conjunction therewith, Plaintiffs request the Court dismiss without

 prejudice the following Plaintiffs from which counsel for Plaintiffs have been unable to secure

 adequate discovery responses: NAMES.

        Plaintiffs do not intend to move for conditional or collective certification of an FLSA class

 in this case. However, the remaining named Plaintiffs do intend to pursue their FLSA claims on

 their individual behalves and the remaining claims on an individual basis.

        At the Scheduling Conference held February 10, 2020, Judge Jayne stated Plaintiffs’ Sec-

 ond Amended Complaint appeared to propose seven separate Rule 23 classes and failed to identify

 the class representatives. Ex. 3- Tr. at 32:23- 35:7. The proposed Third Amended Complaint clar-

 ifies for the Court and the parties Plaintiffs’ proposed Rule 23 class, the class and subclass defin-

 intions, the class claims, and the proposed class representatives for the class and subclasses. Ex. 1

 at .

        This clarification allows the parties to agree to a scheduling order, to be filed separately,

 bifurcating class certification and merits discovery and incorporating expert witness discovery for




                                                                                                         Exhibit 6 at 7
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 purposes of Plaintiffs’ Motion for Rule 23 Certification. This bifurcation of discovery is in the best

 interests of the parties because of the nature of the damages Plaintiffs seek to recover on a class

 basis versus on an individual basis. The proposed class representatives seek only to recover eco-

 nomic damages (unpaid minimum and overtime wages in addition to attendant statutory penalties,

 interest, attorney’s fees, and costs) on behalf of the proposed Rule 23 class. Ex. 1 at . These eco-

 nomic damages are recoverable under all of Plaintiffs’ claims, and therefore, liability as to all

 claims can be decided in a class trial. However, all named Plaintiffs, in a bifurcated trial, will seek

 to recover additional non-economic damages on their individual behalves, such as personal injury,

 pain and suffering, emotional distress, etc. Because of the nature of these non-economic damages,

 further individualized discovery and expert witness discovery will be necessary in the merits dis-

 covery phase after the Court rules on Rule 23 certification. The parties contemplate filing for a

 merits phase scheduling order after the Court rules on Rule 23 certification, which schedule will

 provide for further merits and expert discovery, dispositive motions and other pre-trial matters.

        Plaintiffs’ proposed Third Amended Complaint also clarifies that the claim for Unjust En-

 richment is not limited to Missouri law or only claims accruing in Missouri, but also seek Unjust

 Enrichment under Oklahoma and Arkansas law to the extent any claims of Plaintiffs and the class

 accrued within those states. Ex. 1 at. The choice of law and identification of the individual’s whose

 claims accrued under each state’s version of unjust enrichment will be addressed in Plaintiffs’

 Motion for Rule 23 Certification and on the merits in later motions for summary judgment.




                                                                                                           Exhibit 6 at 8
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        The parties have met and conferred regarding the relief requested in this motion. During

 that process, Defendants agreed not oppose this motion on four conditions. After extensive nego-

 tiations, the parties were able to reach compromise agreements on three of those conditions, set

 forth below, on which all sides jointly stipuate:

            1. That the deadline to amend the pleadings has lapsed, and that there shall be no

                further amendments, absent good cause and upon written order of this Court.

            2. That Plaintiffs will not seek to add to or substitute their proposed class representa-

                tives, prior to an order granting class certification, except in event of a class repre-

                sentative’s death, withdrawal (if allowed by the Court), or dismissal from the case;

                and                                                                                        Commented [A1]: Mark/Dan:

                                                                                                           In the interest of narrowing the issues and moving things along,
            3. That Plaintiffs be required to provide verified responses and document production           we’ve decided to go with your proposals on these two issues.
                                                                                                           Formatted: List Paragraph, Numbered + Level: 1 +
                to all of the Defendants’ outstanding discovery requests, with the exception of their      Numbering Style: 1, 2, 3, … + Start at: 1 + Alignment: Left +
                                                                                                           Aligned at: 0.75" + Indent at: 1"

                Facebook archives, within 45 days of the Court’s entry of the parties’ Proposed

                Class Certification Scheduling Order, subject to the terms and conditions set forth        Commented [A2]: Mark:

                                                                                                           After looking more closely at the two motions, Chris and I see what
                in that proposed Order.                                                                    you were talking about on the triggering event for the 45 day dead-
                                                                                                           line. It makes more sense to set the triggering event as the entry of
                                                                                                           the Scheduling Order, given that the deadline appears in the sched-
        The parties, however, were unable to reach an agreement on Defendants’ fourth condi-               ule. Sorry for the confusion.


 tion—regarding Plaintiffs’ proposed amendments to their tenth cause of action. Defendants oppose

 Plaintiffs’ filing of the Third Amended Complaint to the extent it seeks to expand that cause of

 action to include claims for unjust enrichment occurring in Arkansas and Oklahoma. Defendants

 will file a response to this motion on that issue. Defendants oppose the Third Amended Complaint

 to the extent [LAGUAGE FROM D’s]. Defendants will file a response to this motion.




                                                                                                                       Exhibit 6 at 9
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       WHEREFORE Plaintiffs move the Court for permission to file the attached Proposed

Third Amended Complaint (Ex. 1).



Dated: March 12, 2020

                                             Respectfully submitted,


                                              /s/ Mark A. Smith
                                              Mark A. Smith, OBA #31231
                                              Caruso Law Firm, P.C.
                                              1325 East 15th Street, Suite 201
                                              Tulsa, Oklahoma 74120
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                                              Daniel E. Smolen, OBA #19943
                                              David A. Warta, OBA #20361
                                              Robert M. Blakemore, OBA #18656
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                                              Fax (918) 585-2669
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                                              davidwarta@ssrok.com
                                              bobblakemore@ssrok.com

                                             Attorneys for Plaintiffs




                                CERTIFICATE OF SERVICE

    I hereby certify that on the 12th day of March 2020, I electronically transmitted the attached
document to the Clerk of the Court using the ECF System for filing.

       Chris S. Thrutchley, OBA No. 15859
       John D. Russell, OBA No. 13343
       Philip D. Hixon, OBA No. 19121




                                                                                                     Exhibit 6 at 10
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                                        18




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     Oklahoma City, Oklahoma 73102
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     Counsel for Defendants
     Simmons Foods, Inc. and
     Simmons Pet Food Inc.

     Denelda L. Richardson, OBA No. 20103
     Randall E. Long, OBA No. 22216
     Michael P. Robertson, OBA No. 32551
     RHODES HIERONYMUS JONES
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     Counsel for Defendants
     C.A.A.I.R. Inc., Jim Lovell,
     Janet Wilkerson, and
     Don Wilkerson



                                            /s Mark A. Smith




                                                                                Exhibit 6 at 11
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                                        18




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

(1) ARTHUR COPELAND,                                 )
(2) DAVID BRANDON SPURGIN,                           )
(3) BRAD MCGAHEY,                                    )
(4) BRANDON MILLS, and                               )
(5) NATHAN TAYLOR                                    )
                                                     )
     Individually and on behalf                      )
     of all others Similarly situated. et. al.,      )
                                                     )
                         Plaintiffs,                 )
                                                     ) CASE NO. 17-CV-00564-TCK-JFJ
v.                                                   ) [PROPOSED] CLASS ACTION
                                                     ) ATTORNEY LIEN CLAIMED
(1) C.A.A.I.R., Inc., a domestic not for profit      )   JURY TRIAL DEMANDED
corporation,                                         )
(2) SIMMONS FOODS, INC., a foreign for               )
profit business corporation,                         )
(3) SIMMONS PET FOOD, INC.,                          )
(4) JANET WILKERSON,                                 )
(5) DON WILKERSON,                                   )
(6) LOUISE DUNHAM,                                   )
(7) JIM LOVELL,                                      )
                                                     )
                          Defendants.                )

                                JOINT MOTION FOR
                      CLASS CERTIFICATION SCHEDULING ORDER

        Pursuant to LCvR 7.2, Plaintiffs and Defendants request that the Court enter a Class Cer-

tification Scheduling Order in this case. In support of this Motion and in accordance with the

requirements of the Northern District of Oklahoma, the parties state as follows:

        1.      There is currently no pending Scheduling Order in this case.

        2.      The parties jointly ask the Court to set deadlines for class discovery, expert wit-

nesses, and class certification briefing, as set forth in the Proposed Order attached as Exhibit 1.

The parties ask the Court to set appropriate dates for the class certification hearing in April 2021.




                                                                                                        Exhibit 6 at 12
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       3.     The parties have been in engaged in written discovery but a significant number of

depositions and expert discovery remain as regards class certification. The Proposed Order sets a

deadline for Plaintiffs to produce documents and respond to Defendants’ currently outstanding

discovery requests.

       4.     The parties have previously requested the following extensions, which were

granted:

              a. Defendants requested a extension of their time to reply to Plaintiffs’ Response

                      in Opposition to Defendants’ Motion to Dimsiss (Dkt. 56).

              b. Plaintiffs requested a extension of their time to responde to Defendants’ Motion

                      to Strike Fraud Allegations (Dkt. 72).

              c. Plaintiffs requested a extension of their time to responde to Defendants’ Motion

                      to Compel (Dkt. 102).

              d. Defendants requested a extension of their time to respond to Plaintiffs’ Motion

                      for Protective Order (Dkt. 134).

       5.     There are no current trial deadlines.

The parties therefore request that the Court approve and enter the Proposed Class Certification

Scheduling Order.

Dated: March 12, 2020

                                              Respectfully submitted,


                                              /s/ Mark A. Smith
                                              Mark A. Smith, OBA #31231
                                              Caruso Law Firm, P.C.
                                              1325 East 15th Street, Suite 201
                                              Tulsa, Oklahoma 74120




                                                                                                    Exhibit 6 at 13
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                                        18




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                            David A. Warta, OBA #20361
                            Robert M. Blakemore, OBA #18656
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                            Fax (918) 585-2669
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                            davidwarta@ssrok.com
                            bobblakemore@ssrok.com

                           Attorneys for Plaintiffs


                           Chris S. Thrutchley, OBA No. 15859
                           John D. Russell, OBA No. 13343
                           Philip D. Hixon, OBA No. 19121
                           Justin A. Lollman, OBA No. 32051
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                           Oklahoma City, Oklahoma 73102
                           Telephone: 405.235.5500
                           Facsimile: 405.235.2875

                           Counsel for Defendants
                           Simmons Foods, Inc. and
                           Simmons Pet Food Inc.

                           Denelda L. Richardson, OBA No. 20103
                           Randall E. Long, OBA No. 22216
                           Michael P. Robertson, OBA No. 32551




                                                                              Exhibit 6 at 14
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                                        18




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                                             Facsimile: 918.592.3390

                                             Counsel for Defendants
                                             C.A.A.I.R. Inc., Jim Lovell,
                                             Janet Wilkerson, and
                                             Don Wilkerson


                                CERTIFICATE OF SERVICE

    I hereby certify that on the 12th day of March 2020, I electronically transmitted the attached
document to the Clerk of the Court using the ECF System for filing.


                                                 /s




                                                                                                     Exhibit 6 at 15
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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OKLAHOMA

(1) ARTHUR COPELAND,                                             )
(2) DAVID BRANDON SPURGIN,                                       )
(3) BRAD MCGAHEY,                                                )
(4) BRANDON MILLS, and                                           )
(5) NATHAN TAYLOR                                                )
                                                                 )
     Individually and on behalf                                  )
     of all others Similarly situated. et. al.,                  )
                                                                 )
                             Plaintiffs,                         )
                                                                 ) CASE NO. 17-CV-00564-TCK-JFJ
v.                                                               ) [PROPOSED] CLASS ACTION
                                                                 ) ATTORNEY LIEN CLAIMED
(1) C.A.A.I.R., Inc., a domestic not for profit                  )   JURY TRIAL DEMANDED
corporation,                                                     )
(2) SIMMONS FOODS, INC., a foreign for                           )
profit business corporation,                                     )
(3) SIMMONS PET FOOD, INC.,                                      )
(4) JANET WILKERSON,                                             )
(5) DON WILKERSON,                                               )
(6) LOUISE DUNHAM,                                               )
(7) JIM LOVELL,                                                  )
                                                                 )
                               Defendants.                       )

                           PROPOSED ORDER ON JOINT MOTION FOR
                          CLASS CERTIFICATION SCHEDULING ORDER

Class Certification Scheduling Order:

1.       N/A           The deadline to amend the pleadings has lapsed. No parties may be added                                 Formatted: Indent: Left: 0", Space After: 12 pt, Add space
                                                                                                                               between paragraphs of the same style, Line spacing: single
         and no pleadings may be amended except for good cause and upon written Order of this
         Court.

2.       7-8-2020[45 Days from the Entry of this Order]        Plaintiffs shall complete and provide                           Commented [A1]: Mark: after looking more closely at the two
                                                                                                                               motions, we see what you were talking about on the triggering event
         verified discovery responses, executed authorizations (drug court authorizations,                                     for the 45 day deadline. It makes more sense to set the triggering
         healthcare and employment authorizations), and production of all documents responsive                                 event as the entry of the Scheduling Order, given that the deadline
                                                                                                                               appears in the schedule. Sorry for the confusion.
         to all of the Defendants’ outstanding discovery requests, with the exception of their Face-
         book archives,1 within 45 days of this Order. Plaintiffs are warned that failure to fulfill all                       Formatted: Superscript
                                                                                                                               Formatted: Superscript

1 The parties have an ongoing dispute over search terms that has delayed Plaintiffs’ production of their Facebook              Formatted: Justified
archives. The parties report that they are still working to negotiate an agreed solution. If the parties are unable to reach




                                                                                                                                        Exhibit 6 at 16
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         such outstanding discovery obligations by this deadline will result in dismissal with preju-
         dice, and Counsel for Plaintiffs are ordered to ensure Plaintiffs receive prompt notice of
         this warning.

         The Court, however, will consider exceptions to this deadline and sanction for Plaintiffs
         who are unable to fulfill all outstanding discovery obligations due to DOC lockdowns or
         other unavoidable casualty. For such Plaintiffs, counsel must file a motion to extend, before
         the response deadline, containing the following information:

                  (a) the Plaintiff’s name and the name and location of the facility where the Plaintiff                     Formatted: Add space between paragraphs of the same
                                                                                                                             style
                      is incarcerated or identification of the unavoidable casualty;

                  (b) list of all attempts to meet with and/or correspond with the Plaintiff, including
                      the time and date of each attempt, and the reason contact was denied;

                  (c) an update on the status of the Plaintiff’s responses—that is, how much if any
                      has been completed, and how much remains;

                  (d) a proposal for a new deadline;

                  (e) an explanation as to why counsel believes the Plaintiff will be able to complete
                      his discovery by the new deadline.

         Defendants shall have a full opportunity to respond to and be heard on any such motion.

2.       Plaintiffs’ Responses and Production of Documents to Defendants’ currently outstanding                              Formatted: Indent: Left: 0", Space After: 12 pt, Add space
                                                                                                                             between paragraphs of the same style, Line spacing: single
         discovery requests.

3.       3-19-2021          Class Certification discovery cutoff.

4.       1-29-2021          Plaintiffs’ Disclosure of Expert Witnesses and Summary of Opinions.

5.       3-1-2021           Defendants’ Disclosure of Expert Witnesses and Summary of Opinions.

6.       4-16-2021          Plaintiffs’ Motion for Rule 23 Class Certification.

7.       5-17-2021          Defendants’ Response to Motion for Rule 23 Class Certification.

8.       6-16-2021          Plaintiffs’ Reply to Motion for Rule 23 Class Certification.

9.       [To be set by court]        Hearing on motion for class certification.


an agreed solution by March 27, 2020, Plaintiffs shall file a motion for protective order on the issue. Following briefing
on that motion, the Court will rule on the appropriateness of all disputed search terms and enter a final deadline for
Plaintiffs’ to produce their Facebook archives, subject to the same warning and conditions set forth above in paragraph
2, supra.                                                                                                                    Formatted: Font: Italic




                                                                                                                                    Exhibit 6 at 17
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IT SO ORDERED that no date set by this Order can be changed except for good cause and

upon written Order of this Court.

                                         This Order is entered this ___ day of    ,
                                         2020.




                                         TERENCE C. KERN
                                         United States District Judge




                                                                                        Exhibit 6 at 18
